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IN THE UNITED sTATEs DISTRICT coUR'r pub BY -- D-c-

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 AUG ' 9 PH 2= 99
RICHARD A. BOWER, EQUAL UW §§ GUD
EMPLOYMENT 0PP0RTUNITY wm §§ §§’;'?;M m
coMMIssIoN, AND JoHN "' ""~MM
osWALD,
Plaintiffs,

R.ICHARD A. BOWER,
Plaintiff-Intervenor,

SHARON HERDRICH, LUIS
MORALES, AND TIM WIESE,

Plaintiff-Intervenors,
v CIVIL ACTION NO. 94-2862 D

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FEDERAL EXPRESS CORPORATION, )
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Defendant.

 

ORDER

 

Pursuant to Rules 6 and 16(b) of the Federal Rules of Civil Procedure, and for
good cause shown, the Unopposed Motion on Behalf of Defendant Federal Express
Corporation to Extend the Deadline for Filing Dispositive Motions is granted. The

deadline for filing dispositive motions is October 15, 2005.

Entered this f 2 l day of August, 2005 .

B IC B. D ALD '
UNITED STATES DISTRICT JUDGE £/\

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:ule 58 and/or 79(a) FRCP on

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CERTIFICATE OF SERVICE

I hereby certify that the Proposed Order the has been forwarded via U.S. MaiI,
first class, postage prepaid this 17th day of August 2005 to the following:

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Honorable Bernice Donald
US DISTRICT COURT

